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 6
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 7
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10     KELLIE BLACK, Individually and on           Case No.
11     behalf of all others similarly situated,
                                                   CLASS ACTION COMPLAINT FOR
12
             Plaintiff,                            VIOLATION OF THE FEDERAL
13                                                 SECURITIES LAWS
14           v.
                                                   JURY TRIAL DEMANDED
15     SNAP INC., EVAN SPIEGEL, DEREK
16     ANDERSEN, JEREMI GORMAN, and
       REBECCA MORROW,
17
18           Defendants.
19
20
           Plaintiff Kellie Black (“Plaintiff”), individually and on behalf of all other
21
     persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s
22
     complaint against Defendants (defined below), alleges the following based upon
23
     personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and
24
25   belief as to all other matters, based upon, inter alia, the investigation conducted by

26   and through his attorneys, which included, among other things, a review of the
27   Defendants’ public documents, announcements, United States Securities and
28                               –1–
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 1   Exchange Commission (“SEC”) filings, wire and press releases published by and
 2   regarding Snap Inc. (“Snap” or the “Company”), and information readily obtainable
 3   on the Internet. Plaintiff believes that substantial evidentiary support will exist for
 4   the allegations set forth herein after a reasonable opportunity for discovery.
 5                              NATURE OF THE ACTION
 6         1.     This is a class action on behalf of persons or entities who purchased or
 7
     otherwise acquired publicly traded Snap securities between July 22, 2020 and
 8
     October 21, 2021, inclusive (the “Class Period”). Plaintiff seeks to recover
 9
     compensable damages caused by Defendants’ violations of the federal securities
10
     laws under the Securities Exchange Act of 1934 (the “Exchange Act”).
11
                              JURISDICTION AND VENUE
12
           2.     The claims asserted herein arise under and pursuant to §§10(b) and
13
14   20(a) of the Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5

15   promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).
16         3.     This Court has jurisdiction over the subject matter of this action under
17   28 U.S.C. §1331 and §27 of the Exchange Act.
18         4.     Venue is proper in this judicial district pursuant to §27 of the Exchange
19   Act (15 U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged misstatements entered
20   and the subsequent damages took place in this judicial district. Further, the
21   Company is headquartered in Los Angeles County.
22         5.     In connection with the acts, conduct and other wrongs alleged in this
23   Complaint, Defendants (defined below), directly or indirectly, used the means and
24
     instrumentalities of interstate commerce, including but not limited to, the United
25
     States mail, interstate telephone communications and the facilities of the national
26
     securities exchange.
27
28                               –2–
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 1                                        PARTIES
 2         6.     Plaintiff, as set forth in the accompanying Certification, purchased the
 3   Company’s securities at artificially inflated prices during the Class Period and was
 4   damaged upon the revelation of the alleged corrective disclosure.
 5         7.     Defendant Snap purports to be a camera company, which offers the
 6   social media application Snapchat, an eyewear product that connects with Snapchat
 7
     and captures video Spectacles, and advertising products including AR (augmented
 8
     reality) and Snap ads. The Company was formerly known as Snapchat, Inc. and
 9
     changed its name to Snap Inc. in September 2016.
10
           8.     Defendant Snap is a Delaware corporation with its principal executive
11
     offices located at 3000 31st Street, Santa Monica, CA 90405. Snap’s shares trade on
12
     the New York Stock Exchange (“NYSE”) under the ticker symbol “SNAP.”
13
14         9.     Defendant Evan Spiegel (“Spiegel”) is a co-founder of Snap and has

15   served as the Company’s Chief Executive Officer and as a member of the
16   Company’s board of directors since May 2012.
17         10.    Defendant Derek Andersen (“Andersen”) has served as Snap’s Chief
18   Financial Officer since May 2019.
19         11.    Defendant Jeremi Gorman (“Gorman”) has served as Snap’s Chief
20   Business Officer since November 2018.
21         12.    Defendant Rebecca Morrow (“Morrow”) has served as Snap’s Chief
22   Accounting Officer since September 2019.
23         13.    Defendants Spiegel, Andersen, Gorman, and Morrow are sometimes
24
     referred to herein as the “Individual Defendants.”
25
           14.    The Individual Defendants:
26
           (a)    directly participated in the management of the Company;
27
28                               –3–
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 1         (b)    were directly involved in the day-to-day operations of the Company at
 2                the highest levels;
 3         (c)    were privy to confidential proprietary information concerning the
 4                Company and its business and operations;
 5         (d)    were directly or indirectly involved in drafting, producing, reviewing
 6                and/or disseminating the false and misleading statements and
 7
                  information alleged herein;
 8
           (e)    were directly or indirectly involved in the oversight or implementation
 9
                  of the Company’s internal controls;
10
           (f)    were aware of or recklessly disregarded the fact that the false and
11
                  misleading statements were being issued concerning the Company;
12
                  and/or
13
14         (g)    approved or ratified these statements in violation of the federal

15                securities laws.
16         15.    The Company is liable for the acts of the Individual Defendants and its
17   employees under the doctrine of respondeat superior and common law principles
18   of agency because all of the wrongful acts complained of herein were carried out
19   within the scope of their employment.
20         16.    The scienter of the Individual Defendants and other employees and
21   agents of the Company is similarly imputed to the Company under respondeat
22   superior and agency principles.
23         17.    The Company and the Individual Defendants are referred to herein,
24
     collectively, as the “Defendants.”
25
26
27
28                               –4–
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 1                           SUBSTANTIVE ALLEGATIONS
 2                                       Background
 3           18.   In June 2020, as part of an ongoing privacy push, Apple Inc.
 4   (“Apple”)—which developed and maintains the popular mobile operating system,
 5   iOS, for its mobile devices (the iPhone)—publicly announced new data privacy
 6   features for iOS. In April 2021, Apple released the new data privacy features for
 7
     iOS.
 8
             19.   Snap relies on user data for its advertising business. Following Apple’s
 9
     June 2020 announcement, Snap continuously downplayed and misled investors
10
     regarding the impact of Apple’s new data privacy features would have on its
11
     business.
12
                        Materially False and Misleading Statements
13
14           20.   On July 22, 2020, Snap filed with the SEC a quarterly report on Form

15   10-Q for the period ended June 30, 2020 (the “2Q20 Report”) which was signed by
16   Defendants Andersen and Morrow. Attached to the 2Q20 Report were certifications
17   pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants
18   Andersen and Spiegel attesting to the accuracy of financial reporting, the disclosure
19   of any material changes to the Company’s internal control over financial reporting
20   and the disclosure of all fraud.
21           21.   The 2Q20 Report stated the following, in pertinent part, regarding
22   Snap’s advertising business:
23           We generate substantially all of our revenues by offering various
24           advertising products on Snapchat, which include Snap Ads and
25           Sponsored Creative Tools, and measurement services, referred to as
             advertising revenue.
26
27                                       *     *      *
28                                  –5–
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 1
 2         We sell advertising directly to advertisers (“Snap-sold” revenue) and
           certain partners that provide content on Snapchat (“media partners”)
 3         also sell directly to advertisers (“partner-sold” revenue). …
 4
                                        *     *      *
 5
 6         We monetize our business primarily through advertising. Our
           advertising products include Snap Ads and Sponsored Creative Tools.
 7
           We measure our business using ARPU [average revenue per user]
 8         because it helps us understand the rate at which we’re monetizing our
 9         daily user base.
10         (Emphasis added.)
11
           22.   Buried amongst other specific and general risks regarding advertising,
12
     the 2Q20 Report merely stated the following regarding Apple’s publicly known
13
14   privacy change:

15         … Furthermore, changes to iOS or Android operating systems’
           practices and policies, such as Apple’s upcoming iOS update that may
16         impose heightened restrictions on our access and use of user data,
17         may reduce the quantity and quality of the data and metrics that can
           be collected or used by us and our partners, and adversely affect our
18
           ability to effectively target advertisements to users and demonstrate the
19         value of our advertisements to advertisers, any of which could reduce
20         the demand and pricing for our advertising products and seriously harm
           our business. The impact of these proposed changes on the overall
21         mobile advertising ecosystem, our business, and the developers,
22         partners, and advertisers within our community is uncertain
           depending on how these changes are implemented, how we and the
23         overall mobile advertising ecosystem adjusts, and how our partners,
24         advertisers, and users respond, could seriously harm our business. Any
25         adverse effects could be particularly material to us because we are still
           early in building our advertising business. Our advertising revenue
26         could be seriously harmed by many other factors, including: … changes
27         in our analytics and measurement solutions, including what we are
28                               –6–
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 1         permitted to collect and disclose under the terms of Apple’s and
 2         Google’s mobile operating system, that demonstrate the value of our
           advertisements and other commercial content; … our inability to collect
 3         and disclose data or access a user’s Identifier for Advertising or similar
 4         deterministic identifier that new and existing advertisers may find
           useful[.]
 5
 6         (Emphasis added.)
 7
           23.   On February 4, 2021, during the fourth quarter 2020 earnings call,
 8
     Defendant Gorman stated the following, in pertinent part, regarding the upcoming
 9
     Apple update and the Company’s purported privacy commitment:
10
           I’ll take the IDFA [Apple’s Identifier for Advertisers] one first and the
11         4x growth as you’re saying in our down funnel metrics, we’re also
12         thrilled to see that. But as it comes to IDFA and the changes, whether
           or not they will impact us. The reality is we admire Apple, and we
13
           believe that they are trying to do the right thing for their customers.
14         Their focus on protecting privacy is aligned with our values and the
15         way that we’ve built our business from the very beginning. So the
           change here that we’re really focused on has less to do with IDFA for
16         which Apple has long offered an opt-out. And instead on a much more
17         broad policy change that requires Snapchatters to opt into tracking with
           other personal identifiers such as their e-mail address, which would
18
           make it harder for us and the overall digital ad ecosystem to match
19         advertising outcomes. But we’ve been working really closely with
20         Apple to implement SKAdNetwork, which is their privacy protective
           solution as well as building our own solutions that use aggregated
21         data to protect privacy. We’ve been communicating very well with
22         advertisers, we’re educating them, talking about them deeply about
           these coming changes and encouraging them to implement our
23         Conversion API and Measurement Kit to mitigate any of this. And
24         then longer term, we’re investing in using first-party data from our
25         platform and providing more opportunities for on platform conversion,
           which will really help. Overall, we feel really well prepared for these
26         changes. But changes to this ecosystem are usually disruptive and the
27         outcome is uncertain.
28                               –7–
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 1
 2         (Emphasis added.)

 3         24.    On February 5, 2021, Snap filed with the SEC its yearly report on Form
 4   10-K for the period ended December 31, 2020 (the “2020 Annual Report”) which
 5   was signed by Defendants Andersen and Morrow. Attached to the 2020 Annual
 6   Report were certifications pursuant to SOX signed by Defendants Andersen and
 7
     Spiegel attesting to the accuracy of financial reporting, the disclosure of any material
 8
     changes to the Company’s internal control over financial reporting and the
 9
     disclosure of all fraud.
10
           25.    The 2020 Annual Report stated the following, in pertinent part,
11
     regarding Snap’s advertising business:
12
           Our Advertising Products
13
14         We connect both brand and direct response advertisers to Snapchatters
15         globally. Our ad products are built on the same foundation that makes
           our consumer products successful. This means that we can take the
16         things we learn while creating our consumer products and apply them
17         to building innovative and engaging advertising products familiar to
           our community.
18
19         AR Ads: Advertising through Snap’s AR tools unlocks the ability to
20         reach a unique audience in a highly differentiated way. Ads can be
           served as Sponsored Lenses or Sponsored Filters. Lenses are designed
21         through our camera to take advantage of the reach and scale of our
22         augmented reality platform to create visually engaging 3D experiences.
           Filters are entertaining, artistic overlays that appear after you take a
23         Snap. These Lenses and Filters can be memorialized on Snapchat,
24         through Brand Profiles that aggregate content, filters, and lenses in a
25         single, easy to find place.

26         Snap Ads: We let advertisers tell their stories the same way our users
27         do, using full screen videos with sound. These also allow advertisers to
28                                –8–
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 1        integrate additional experiences and actions directly within these
 2        advertisements, including watching a long-form video, visiting a
          website, or installing an app. Snap Ads include the following:
 3
 4        ● Single Image or Video Ads: These are full screen ads that are
          skippable, and can contain an attachment to enable Snapchatters to
 5        swipe up and take action.
 6        ● Story Ads: Story Ads are branded tiles that live within the Discover
          section of the Stories tab that can be either video ads or a series of 3 to
 7
          20 images.
 8        ● Collection Ads: Collection Ads feature four tappable tiles to
 9        showcase multiple products, giving Snapchatters a frictionless way to
          browse and buy.
10        ● Dynamic Ads: Dynamic ads leverage our machine learning algorithm
11        to match a product catalog to serve the right ad to the right Snapchatter
          at the right time.
12
          ● Commercials: Commercials are non-skippable for six seconds, but
13        can last up to three minutes. These ads appear within Snapchat’s
14        curated content.

15        Campaign Management and Delivery: We aim to continually improve
16        the way ads are purchased and delivered. We have invested heavily to
          build our self-serve advertising platform, which provides automated,
17        sophisticated, and scalable ad buying and campaign management.
18
          We offer the ability to bid for advertisements that are designated to
19
          drive Snapchatters to: visit a website, visit a local business, call or text
20        a business, download an app, or return to an app. Additionally, our
21        delivery framework continues to optimize relevance of ads across the
          entire platform by determining the best ad to show to any given user
22        based on their real-time and historical attributes and activity. This
23        decreases the number of wasted impressions while improving the
          effectiveness of the ads that are shown to our community. This helps
24
          advertisers increase their return on investment by providing more
25        refined targeting, the ability to test and learn with different creatives
26        or campaign attributes in real time, and the dynamics of our self-serve
          pricing.
27
28                               –9–
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 1         Measuring Advertising Effectiveness: We offer third-party and first-
 2         party solutions to provide a vast array of analytics on campaign
           attributes like reach, frequency, demographics, and viewability;
 3         changes in perceptions like brand favorability or purchase intent; and
 4         lifts in actual behavior like purchases, foot traffic, app installs, and
           online purchases.
 5
 6                                     *      *     *
 7
           We monetize our business primarily through advertising. Our
 8         advertising products include Snap Ads and AR Ads. We measure our
 9         business using ARPU because it helps us understand the rate at which
           we are monetizing our daily user base.
10
11                                     *      *     *
12
           Revenue
13
14         We generate substantially all of our revenue through the sale of our
           advertising products, which primarily include Snap Ads and AR Ads,
15         and measurement services, referred to as advertising revenue. Snap Ads
16         may be subject to revenue sharing arrangements between us and the
           media partner. We also generate revenue from sales of our hardware
17         product, Spectacles. This revenue is reported net of allowances for
18         returns.
19
                                       *      *     *
20
21         We generate substantially all of our revenues by offering various
           advertising products on Snapchat, which include Snap Ads and AR
22         Ads, referred to as advertising revenue. AR Ads include Sponsored
23         Filters and Sponsored Lenses. Sponsored Filters allow users to interact
           with an advertiser’s brand by enabling stylized brand artwork to be
24
           overlaid on a Snap. Sponsored Lenses allow users to interact with an
25         advertiser’s brand by enabling branded augmented reality experiences.
26
           (Emphasis added).
27
28                               – 10 –
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 1         26.    The 2020 Annual Report stated the following, in pertinent part,
 2   regarding the Company’s purported commitment to privacy, stating in part: :
 3         Our Commitment to Privacy
 4
           Our approach to privacy is simple: Be upfront, offer choices, and
 5         never forget that our community comes first.
 6
           We built Snapchat as an antidote to the context-less communication that
 7
           has plagued “social media.” Not so long ago, a conversation among
 8         friends would be just that: a private communication in which you
 9         knew exactly who you were talking to, what you were talking about,
           and whether what you were saying was being memorialized for
10         eternity. …
11
           When you read our Privacy Policy, we hope that you’ll notice how
12
           much we care about the integrity of personal communication. For
13         starters, we’ve written our Privacy Policy in plain language because we
14         think it’s important that everyone understand exactly how we handle
           their information. Otherwise, it’s hard to make informed choices about
15         how you communicate. We’ve also created a robust Privacy Center
16         where we show that context and choice are more than talking points.
           There, we point out the many ways that users can control who sees
17         their Snaps and Stories, and explain how long content will remain on
18         our servers, how users can manage the information that we do have
           about them, and much more. This is where you’ll also find our
19
           Transparency Report.
20
21         We also understand that privacy policies—no matter how ambitious—
           are only as good as the people and practices behind those policies.
22         When someone trusts us to transmit or store their information, we
23         know we have a responsibility to protect that information and we work
           hard to keep it secure. New features go through an intense privacy-
24
           review process—we debate pros and cons, and we work hard to build
25         products we’re proud of and that we’ll want to use. We use Snapchat
26         constantly, both at work and in our personal lives, and we handle user
           information with the same care that we want for our family, our friends,
27         and ourselves.
28                                         – 11 –
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 1
 2         (Emphasis added.)

 3         27.   Buried amongst other specific and general risks regarding advertising,
 4   the 2020 Annual Report merely stated the following regarding Apple’s publicly
 5   known privacy change:
 6         … Furthermore, changes to iOS or Android operating systems’
 7         practices and policies, such as Apple’s upcoming iOS update that may
 8         impose heightened restrictions on our access and use of user data,
           may reduce the quantity or quality of the data and metrics that can be
 9         collected or used by us and our partners, or adversely affect our ability
10         to effectively target advertisements to users or demonstrate the value of
           our advertisements to advertisers, any of which could reduce the
11         demand and pricing for our advertising products and seriously harm our
12         business. The impact of these proposed changes on the overall mobile
           advertising ecosystem, our business, and the developers, partners, and
13
           advertisers within our community is uncertain. Depending on how these
14         changes are implemented, how we and the overall mobile advertising
15         ecosystem adjusts, and how our partners, advertisers, and users
           respond, our business could be seriously harmed. Any adverse effects
16         could be particularly material to us because we are still early in building
17         our advertising business. Our advertising revenue could also be
           seriously harmed by many other factors, including: … changes in our
18
           analytics and measurement solutions, including what we are permitted
19         to collect and disclose under the terms of Apple’s and Google’s mobile
20         operating systems, that demonstrate the value of our advertisements and
           other commercial content … our inability to measure the effectiveness
21         of our advertising or target the appropriate audience for
22         advertisements[.]
23         (Emphasis added.)
24
25         28.   On July 22, 2021, during the second quarter 2021 earnings call,

26   Defendant Gorman stated, in pertinent part, the following regarding the Apple’s
27   privacy update and the Company’s position:
28                               – 12 –
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 1         Our ad platform is being utilized as an effective self-service tool to help
 2         advertisers of all types and sizes create, manage, and measure
           campaigns on Snapchat. Further, it is a reflection of our focus on
 3         privacy and innovation as we are delivering results for advertisers
 4         while also respecting the privacy of our community, which has been
           a core tenet since we launched ads on Snapchat. This year has clearly
 5         demonstrated how important it is to simultaneously meet these two
 6         objectives for our advertising partners. As Apple rolled-out its App
           Tracking Transparency-related changes near the end of Q2, we
 7
           observed higher opt-in rates than we are seeing reported generally
 8         across the industry, which we believe is due in part to the trust our
 9         community has in our products and our business. Apple’s rollout of
           the most recent iOS update came later in Q2 than initially anticipated,
10         and the pace of updates by iPhone users has also been slower than we
11         anticipated. This has given us more time with advertisers to navigate
           the transition but also means the effects of these changes will come
12
           later than we initially expected.
13
14         We continue to work with our advertising partners on privacy-safe
           solutions and other attribution techniques. For example, we fully rolled
15         out support of SKAdnetwork version 3.0, which we believe will aid in
16         improving attribution for advertisers who have implemented Apple’s
           API. We also launched Advanced Conversions in Ads Manager, which
17         allows advertisers to measure their campaigns via our privacy-
18         protecting measurement stack. We are dedicated to delivering value
           for our advertising partners while respecting the privacy of our
19
           community, as we have worked to do for many years. That said, it
20         remains very early in the adoption of the iOS platform changes, and we
21         will continue to learn how these changes may impact our advertising
           partners, business, and the industry as a whole. We are seeing some
22         initial signals as advertisers test and learn in this new environment and
23         this is causing some interruptions to demand that we had anticipated
           would be part of the adoption process, particularly in the direct response
24
           e-commerce and gaming sectors. It is too early to determine how long
25         it will take until these changes are fully adopted, the scale of the
26         potential interruptions to demand, or the ultimate impact on the longer
           term growth of our business. …
27
28                               – 13 –
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 1         We continue to invest heavily in video advertising, with the goal of
 2         driving results for our advertising partners and connecting them to the
           Snapchat Generation. For example, we worked with Nielsen to help
 3         US advertisers understand how to more efficiently reach their target
 4         audiences via Snap Ads. The Total Ad Ratings (TAR) study analyzed
           how over thirty cross-platform advertising campaigns reached people
 5         on both Snapchat and television. The analysis showed that Snapchat
 6         campaigns contributed an average of 16 percent incremental reach to
           advertisers’ target audiences, and over 70 percent of the Gen Z audience
 7
           that was reached by Snapchat was not reached by TV-only campaigns.
 8         This is especially important as people are increasingly cutting the cord,
 9         and mobile content consumption continues to grow, presenting us with
           a large opportunity to help advertisers reach the Snapchat Generation
10         at scale.
11
                                        *     *      *
12
13         I think the important thing about IDFA is to really understand that the
14         solutions are not yet fully finalized. Everyone is still evolving, Apple,
           the entire industry is still evolving. And we’ve said this before, and I
15         just want to reiterate that we genuinely support Apple’s approach.
16         We've always believed that advertising should respect customer’s
           privacy at its core at Snap and the products that this amazing team
17         has built for the last almost 10 years now. And we’ve been working
18         really hard to make this transition smooth for our advertising partners
           as well as our businesses. So where we are in the cycle right now is
19
           that we rolled out full support of SKAdnetwork version 3.0, which we
20         know will aid or we believe will aid in attribution for advertisers. And
21         we’ve also implemented Apple’s API. In addition, we launched
           Advanced Conversions in Ads Manager so advertisers can measure
22         their campaigns with our privacy conscious measurement stack. And
23         then, you know, I think one of the things that we're observing here is
           that our opt in rates have been above what is sort of widely reported
24
           in both the press as well as with the analyst community. So that’s,
25         that’s good, but it remains so early in these iOS changes and there’s no
26         question that it will be a change for the industry in and of itself. But
           you know, I think we prepared it the best that we can. The product
27         teams and the engineering teams have been working really closely
28                                            – 14 –
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 1         with all of our partners and our sales teams to make sure that this
 2         transition for our advertisers is as smooth as possible.

 3         (Emphasis added.)
 4
           29.    The statements referenced in ¶¶ 20-28 above, made by or attributed to
 5
     Defendants, were materially false and/or misleading because they misrepresented
 6
     and failed to disclose the following adverse facts pertaining to the Company’s
 7
 8   business, operational and financial results, which were known to Defendants or

 9   recklessly disregarded by them. Specifically, Defendants made false and/or
10   misleading statements and/or failed to disclose that: (1) Apple’s privacy changes
11   would have, and were having, a material impact on the Company’s advertising
12   business; (2) Snap overstated its ability to transition its advertising with Apple’s
13   privacy changes; (3) Snap knew of, but downplayed, the risks of the impact that
14   Apple’s privacy changes had on the Company’s advertising business; (4) Snap
15   overstated its commitment to privacy; and (5) as a result of the foregoing,
16   Defendants’ public statements and statements to journalists were materially false
17   and/or misleading at all relevant times.
18
                                     The Truth Emerges
19
           30.    On October 22, 2021, Snap filed its third quarter 2021 report for the
20
     period ending September 30, 2021 with the SEC on From 10-Q (the “3Q21 Report”),
21
     disclosing the Company’s weaker-than-expected revenue and weaker-than-expected
22
     guidance because of its advertising business, including due to Apple’s privacy
23
     changes.
24
25         31.    Further, the 3Q21 Report disclosed the risks of heighted restrictions on

26   the Company’s access and use of user data due to Apple’s privacy update
27   materialized, stating in pertinent part:
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 1         Furthermore, in April 2021 Apple issued an iOS update that imposes
 2         heightened restrictions on our access and use of user data. Google
           has announced that it will implement similar changes with respect to its
 3         Android operating system and major web browsers, like Safari and
 4         Chrome, may make similar changes as well. These changes have
           adversely affected our targeting, measurement, and optimization
 5         capabilities, and in turn affected our ability to measure the
 6         effectiveness of advertisements on our services. This has resulted in,
           and in the future is likely to continue to result in, reduced demand
 7
           and pricing for our advertising products and could seriously harm
 8         our business. The impact of these changes on the overall mobile
 9         advertising ecosystem, our competitors, our business, and the
           developers, partners, and advertisers within our community is
10         uncertain, and depending on how we, our competitors, and the overall
11         mobile advertising ecosystem adjusts, and how our partners,
           advertisers, and users respond, our business could be seriously harmed.
12
           In addition, if we are unable to mitigate these and future developments,
13         and alternative methods do not become widely adopted by our
14         advertisers, then our targeting, measurement, and optimization
           capabilities will be materially and adversely affected, which would in
15         turn continue to negatively impact our advertising revenue. Any
16         adverse effects could be particularly material to us because we are still
           early in building our advertising business. …
17
18         (Emphasis added.)
19
           32.   On this news, Snap’s stock price fell $19.97 per share, or 26%, to close
20
     at $55.14 per share on October 22, 2021, damaging investors.
21
           33.   As a result of Defendants’ wrongful acts and omissions, and the decline
22
     in the market value of the Company’s securities, Plaintiff and other Class members
23
     have suffered significant losses and damages.
24
25                 PLAINTIFF’S CLASS ACTION ALLEGATIONS

26         34.   Plaintiff brings this action as a class action pursuant to Federal Rule of
27   Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who
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 1   purchased or otherwise acquired the publicly traded securities of Snap during the
 2   Class Period (the “Class”) and were damaged thereby. Excluded from the Class are
 3   Defendants herein, the officers and directors of the Company, at all relevant times,
 4   members of their immediate families and their legal representatives, heirs,
 5   successors or assigns and any entity in which Defendants have or had a controlling
 6   interest.
 7
            35.      The members of the Class are so numerous that joinder of all members
 8
     is impracticable. Throughout the Class Period, the Company’s securities were
 9
     actively traded on the NYSE. While the exact number of Class members is unknown
10
     to Plaintiff at this time and can be ascertained only through appropriate discovery,
11
     Plaintiff believes that there are hundreds or thousands of members in the proposed
12
     Class. Record owners and other members of the Class may be identified from
13
14   records maintained by the Company or its transfer agent and may be notified of the

15   pendency of this action by mail, using the form of notice similar to that customarily
16   used in securities class actions.
17          36.      Plaintiff’s claims are typical of the claims of the members of the Class
18   as all members of the Class are similarly affected by Defendants’ wrongful conduct
19   in violation of federal law that is complained of herein.
20          37.      Plaintiff will fairly and adequately protect the interests of the members
21   of the Class and has retained counsel competent and experienced in class and
22   securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
23   of the Class.
24
            38.      Common questions of law and fact exist as to all members of the Class
25
     and predominate over any questions solely affecting individual members of the
26
     Class. Among the questions of law and fact common to the Class are:
27
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 1         (a)    whether Defendants’ acts as alleged violated the federal securities
 2                laws;
 3         (b)    whether Defendants’ statements to the investing public during the
 4                Class Period misrepresented material facts about the financial
 5                condition, business, operations, and management of the Company;
 6         (c)    whether Defendants’ statements to the investing public during the
 7
                  Class Period omitted material facts necessary to make the statements
 8
                  made, in light of the circumstances under which they were made, not
 9
                  misleading;
10
           (d)    whether the Individual Defendants caused the Company to issue false
11
                  and misleading SEC filings and public statements during the Class
12
                  Period;
13
14         (e)    whether Defendants acted knowingly or recklessly in issuing false and

15                misleading SEC filings and public statements during the Class Period;
16         (f)    whether the prices of the Company’s securities during the Class Period
17                were artificially inflated because of the Defendants’ conduct
18                complained of herein; and
19         (g)    whether the members of the Class have sustained damages and, if so,
20                what is the proper measure of damages.
21         39.    A class action is superior to all other available methods for the fair and
22   efficient adjudication of this controversy since joinder of all members is
23   impracticable. Furthermore, as the damages suffered by individual Class members
24
     may be relatively small, the expense and burden of individual litigation make it
25
     impossible for members of the Class to individually redress the wrongs done to
26
     them. There will be no difficulty in the management of this action as a class action.
27
28                               – 18 –
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 1         40.    Plaintiff will rely, in part, upon the presumption of reliance established
 2   by the fraud-on-the-market doctrine in that:
 3         (a)    Defendants made public misrepresentations or failed to disclose
 4                material facts during the Class Period;
 5         (b)    the omissions and misrepresentations were material;
 6         (c)    the Company’s securities are traded in efficient markets;
 7
           (d)    the Company’s securities were liquid and traded with moderate to
 8
                  heavy volume during the Class Period;
 9
           (e)    the Company traded on NYSE, and was covered by multiple analysts;
10
           (f)    the misrepresentations and omissions alleged would tend to induce a
11
                  reasonable investor to misjudge the value of the Company’s securities;
12
           (g)    Plaintiff and members of the Class purchased and/or sold the
13
14                Company’s securities between the time the Defendants failed to

15                disclose or misrepresented material facts and the time the true facts
16                were disclosed, without knowledge of the omitted or misrepresented
17                facts; and
18         (h)    Unexpected material news about the Company was rapidly reflected
19                in and incorporated into the Company’s stock price during the Class
20                Period.
21         41.    Based upon the foregoing, Plaintiff and the members of the Class are
22   entitled to a presumption of reliance upon the integrity of the market.
23         42.    Alternatively, Plaintiff and the members of the Class are entitled to the
24
     presumption of reliance established by the Supreme Court in Affiliated Ute Citizens
25
     of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as
26
27
28                               – 19 –
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 1   Defendants omitted material information in their Class Period statements in
 2   violation of a duty to disclose such information, as detailed above.
 3                                         COUNT I
 4           Violation of Section 10(b) of The Exchange Act and Rule 10b-5
 5                                  Against All Defendants
 6         43.    Plaintiff repeats and realleges each and every allegation contained
 7
     above as if fully set forth herein.
 8
           44.    This Count is asserted against the Company and the Individual
 9
     Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. §
10
     78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
11
           45.     During the Class Period, the Company and the Individual Defendants,
12
     individually and in concert, directly or indirectly, disseminated or approved the
13
14   false statements specified above, which they knew or deliberately disregarded were

15   misleading in that they contained misrepresentations and failed to disclose material
16   facts necessary in order to make the statements made, in light of the circumstances
17   under which they were made, not misleading.
18         46.    The Company and the Individual Defendants violated §10(b) of the
19   1934 Act and Rule 10b-5 in that they: employed devices, schemes and artifices to
20   defraud; made untrue statements of material facts or omitted to state material facts
21   necessary in order to make the statements made, in light of the circumstances under
22   which they were made, not misleading; and/or engaged in acts, practices and a
23   course of business that operated as a fraud or deceit upon plaintiff and others
24
     similarly situated in connection with their purchases of the Company’s securities
25
     during the Class Period.
26
27
28                               – 20 –
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 1         47.    The Company and the Individual Defendants acted with scienter in that
 2   they knew that the public documents and statements issued or disseminated in the
 3   name of the Company were materially false and misleading; knew that such
 4   statements or documents would be issued or disseminated to the investing public;
 5   and knowingly and substantially participated, or acquiesced in the issuance or
 6   dissemination of such statements or documents as primary violations of the
 7
     securities laws. These defendants by virtue of their receipt of information reflecting
 8
     the true facts of the Company, their control over, and/or receipt and/or modification
 9
     of the Company’s allegedly materially misleading statements, and/or their
10
     associations with the Company which made them privy to confidential proprietary
11
     information concerning the Company, participated in the fraudulent scheme alleged
12
     herein.
13
14         48.     Individual Defendants, who are the senior officers and/or directors of

15   the Company, had actual knowledge of the material omissions and/or the falsity of
16   the material statements set forth above, and intended to deceive Plaintiff and the
17   other members of the Class, or, in the alternative, acted with reckless disregard for
18   the truth when they failed to ascertain and disclose the true facts in the statements
19   made by them or other personnel of the Company to members of the investing
20   public, including Plaintiff and the Class.
21         49.    As a result of the foregoing, the market price of the Company’s
22   securities was artificially inflated during the Class Period. In ignorance of the falsity
23   of the Company’s and the Individual Defendants’ statements, Plaintiff and the other
24
     members of the Class relied on the statements described above and/or the integrity
25
     of the market price of the Company’s securities during the Class Period in
26
     purchasing the Company’s securities at prices that were artificially inflated as a
27
28                               – 21 –
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 1   result of the Company’s and the Individual Defendants’ false and misleading
 2   statements.
 3          50.    Had Plaintiff and the other members of the Class been aware that the
 4   market price of the Company’s securities had been artificially and falsely inflated
 5   by the Company’s and the Individual Defendants’ misleading statements and by the
 6   material adverse information which the Company’s and the Individual Defendants
 7
     did not disclose, they would not have purchased the Company’s securities at the
 8
     artificially inflated prices that they did, or at all.
 9
            51.     As a result of the wrongful conduct alleged herein, Plaintiff and other
10
     members of the Class have suffered damages in an amount to be established at trial.
11
            52.    By reason of the foregoing, the Company and the Individual
12
     Defendants have violated Section 10(b) of the 1934 Act and Rule 10b-5
13
14   promulgated thereunder and are liable to the Plaintiff and the other members of the

15   Class for substantial damages which they suffered in connection with their
16   purchases of the Company’s securities during the Class Period.
17                                           COUNT II
18                     Violation of Section 20(a) of The Exchange Act
19                            Against The Individual Defendants
20          53.    Plaintiff repeats and realleges each and every allegation contained in
21   the foregoing paragraphs as if fully set forth herein.
22          54.    During the Class Period, the Individual Defendants participated in the
23   operation and management of the Company, and conducted and participated,
24
     directly and indirectly, in the conduct of the Company’s business affairs. Because
25
     of their senior positions, they knew the adverse non-public information regarding
26
     the Company’s business practices.
27
28                               – 22 –
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 1         55.    As officers of the Company, the Individual Defendants had a duty to
 2   disseminate accurate and truthful information with respect to the Company and to
 3   correct promptly any public statements issued by the Company which had become
 4   materially false or misleading.
 5         56.    Because of their positions of control and authority as senior officers,
 6   Individual Defendants were able to, and did, control the contents of the various
 7
     reports, press releases and public filings which the Company disseminated in the
 8
     marketplace during the Class Period. Throughout the Class Period, Individual
 9
     Defendants exercised their power and authority to cause the Company to engage in
10
     the wrongful acts complained of herein. The Individual Defendants therefore, were
11
     “controlling persons” of the Company within the meaning of Section 20(a) of the
12
     Exchange Act. In this capacity, they participated in the unlawful conduct alleged
13
14   which artificially inflated the market price of the Company’s securities.

15         57.    The Individual Defendants, therefore, acted as controlling persons of
16   the Company. By reason of their senior management positions, the Individual
17   Defendants had the power to direct the actions of, and exercised the same to cause,
18   the Company to engage in the unlawful acts and conduct complained of herein. The
19   Individual Defendants exercised control over the general operations of the
20   Company and possessed the power to control the specific activities which comprise
21   the primary violations about which Plaintiff and the other members of the Class
22   complain.
23         58.    By reason of the above conduct, the Individual Defendants are liable
24
     pursuant to Section 20(a) of the Exchange Act for the violations committed by the
25
     Company.
26
                                 PRAYER FOR RELIEF
27
28                               – 23 –
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 1         WHEREFORE, Plaintiff demands judgment against Defendants as follows:
 2         A.     Determining that the instant action may be maintained as a class action
 3   under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as
 4   the Class representative;
 5         B.     Requiring Defendants to pay damages sustained by Plaintiff and the
 6   Class by reason of the acts and transactions alleged herein;
 7
           C.     Awarding Plaintiff and the other members of the Class prejudgment
 8
     and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees
 9
     and other costs; and
10
           D.     Awarding such other and further relief as this Court may deem just and
11
     proper.
12
                            DEMAND FOR TRIAL BY JURY
13
14         Plaintiff hereby demands a trial by jury.

15
16   Dated: November 11, 2021               Respectfully submitted,
17                                          /s/Laurence M. Rosen
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